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                      Exhibit B-1

            Form of General Bar Date Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                               (Jointly Administered)
Debtors.


TO ALL ENTITIES WITH CLAIMS AGAINST THE BOY SCOUTS OF AMERICA
AND DELAWARE BSA, LLC:

         NOTICE OF DEADLINES REQUIRING FILING OF PROOFS OF CLAIM

NOTICE IS HEREBY GIVEN as follows:

        The United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) has entered an Order (the “Bar Date Order”)       establishing [●] at 5:00 p.m.
(prevailing Eastern Time) the (“General Bar Date”) as the last date and time for each person or
entity (including individuals, partnerships, corporations, joint ventures, and trusts, but not
including any (i) any holder of an Abuse Claim (as defined herein) and (ii) governmental units
(as defined in section 101(27) of the chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”)) to file a proof of claim against any of the above-listed debtors
(collectively, the “Debtors”).2

       The Bar Dates (as defined below) and the procedures set forth below for filing proofs of
claim apply to all claims against the Debtors that arose prior to February 18, 2020 (the “Petition
Date”), the date on which the Debtors commenced cases under chapter 11 of the Bankruptcy
Code, including, for the avoidance of doubt, secured claims, priority claims, and claims arising
under section 503(b)(9) of the Bankruptcy Code, but not holders of the claims listed in Section V
below that specifically are excluded from the General Bar Date and Governmental Bar Date (as
defined below) filing requirement. Governmental units may have until August 17, 2020 at 5:00
p.m. (Eastern Time) (the “Governmental Bar Date,” and, together with the General Bar Date,
the “Bar Dates”) to file proofs of claim against the Debtors.


1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Debtors’ Motion, Pursuant to § 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e),
3001-1, and 3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the Form and
Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date and Other Important
Information to Abuse Victims, and (IV) Approve Confidentiality Procedures for Abuse Victims [Docket No. [●]].
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       The procedures described in this Notice shall not apply to holders of Abuse Claims
asserting Abuse Claims. Such holders should consult the Notice of Deadlines Requiring
Filing of Abuse Proofs of Claims. An abuse victim asserting a claim other than an Abuse
Claim must file a separate proof of claim as set forth in the Bar Date Order and this Notice.

I.     WHO MUST FILE A PROOF OF CLAIM

        You MUST file a proof of claim to vote on a chapter 11 plan filed by the Debtors or to
share in distributions from the Debtors’ bankruptcy estates if (i) you have a claim that arose prior
to the Petition Date and (ii) it is not one of the types of claims described in Section IV below.
Claims based on acts or omissions of the Debtors that occurred before the Petition Date must be
filed on or prior to the applicable Bar Date, even if such claims are not now fixed, liquidated or
certain or did not mature or become fixed, liquidated or certain before the Petition Date.

        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

II.    WHAT TO FILE

        The Debtors are enclosing a proof of claim form (the “General Proof of Claim Form”) for
use in these cases; if your claim is listed on the schedules of assets and liabilities filed by the
Debtors (collectively, the “Schedules”), the proof of claim form also sets forth the amount of
your claim as listed on the Schedules, the specific Debtor against which the claim is scheduled,
and whether the claim is scheduled as “disputed,” “contingent,” or “unliquidated.” You will
receive a different proof of claim form for each claim listed in your name on the Schedules. You
may utilize the proof of claim form(s) provided by the Debtors to file your claim. Additional
proof of claim forms may be obtained at (i) the website established by the Debtors’ Court-
approved claims and noticing agent, Omni Agent Solutions (the “Claims and Noticing Agent”),
located at www.OfficialBSAClaims.com, or (ii) the Bankruptcy Court’s website located at
www.uscourts.gov/forms/bankruptcy-forms.

Proofs of Claim must:                        Be signed by the claimant
                                             Be written in English
                                             Be denominated in United States currency
                                               (using the exchange rate, if applicable, as of
                                               the Petition Date)
                                             Set forth with specificity the legal and factual
                                               basis for the alleged claim, including all of the
                                               information requested in the Proof of Claim
                                               Form, and attach to your completed proof of
                                               claim any documents on which the claim is
                                               based (if voluminous, attach a summary) or


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                                                explanation as to why the documents are not
                                                available

        Any holder of a claim against more than one Debtor must file a separate proof of claim
with respect to each Debtor. Any holder of a claim must identify on its proof of claim the
specific Debtor against which its claim is asserted and the case number of that Debtor’s
bankruptcy case. The Debtors are set forth on the first page of this Notice. Any holder of a
claim must sign the claim or, if the claimant is not an individual, an authorized agent must sign
the claim.

III.   WHEN AND WHERE TO FILE

Except as provided for herein, all proofs of claim must be filed so as to be received on or before
[●], 2020 at 5:00 p.m. (prevailing Eastern Time) BY FIRST CLASS MAIL, OVERNIGHT
COURIER OR HAND DELIVERY, TO:

               BSA Claims Processing
               c/o Omni Agent Solutions
               5955 De Soto Ave., Suite 100
               Woodland Hills, CA 91367

        Proofs of claim will be deemed filed only when received at the address listed above on or
before the applicable Bar Dates. Proofs of claim may not be delivered by email, facsimile, or
telecopy transmission or via an electronic filing system or filing with the Bankruptcy
Court.

IV.    CONFIDENTIALITY PROTOCOL GOVERNING SUBMISSION OF PROOFS
       OF CLAIMS OF MINORS:

        The Bar Date Order provides that a Confidentiality Protocol shall govern the submission
of certain of the Proofs of Claim:

        Minors and their parents and legal guardians holding non-Abuse Claims are directed not
to file a General Proof of Claim with the Court. Instead and as described above, the General
Proof of Claim must be mailed and delivered to the Claims and Noticing Agent at the following
address:

                                    BSA Claims Processing
                                   c/o Omni Agent Solutions
                                  5955 De Soto Ave., Suite 100
                                   Woodland Hills, CA 91367

V.     WHO NEED NOT FILE A PROOF OF CLAIM

       You do not need to file a proof of claim on or prior to the applicable Bar Dates if you are:

       (1)     any person who holds a prepetition abuse claim, which includes any liquidated or
               unliquidated Claim that is attributable to, arises from, is based upon, relates to, or

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              results from, in whole or in part, directly, indirectly, or derivatively, sexual
              conduct or misconduct, sexual abuse or molestation, sexual exploitation, indecent
              assault and/or battery, rape, pedophilia, ephebophilia, sexually related
              psychological or emotional harm, humiliation, anguish, shock, sickness, disease,
              disability, dysfunction, or intimidation, any other sexual misconduct or injury,
              contacts or interactions of a sexual nature, including the use of photography,
              video, or digital media, or other physical abuse or bullying without regard to
              whether such physical abuse or bullying is of a sexual nature, between a child and
              an adult, between a child and another child, or between a non-consenting adult
              and another adult, in each instance without regard to whether such activity
              involved explicit force, whether such activity involved genital or other physical
              contact, and whether there is or was any associated physical, psychological, or
              emotional harm to the child or non-consenting adult that occurred prior to the
              Petition Date (each, an “Abuse Claim”);

       (2)    any person or entity whose claim is listed on the Schedules; provided that (i) the
              claim is not listed on the Schedules as “disputed,” “contingent,” or
              “unliquidated,” (ii) the person or entity does not dispute the amount, nature, and
              priority of the claim as set forth in the Schedules, and (iii) the person or entity
              does not dispute that the claim is an obligation of the specific Debtor against
              which the claim is listed in the Schedules;

       (3)    any person or entity whose claim has been paid in full;

       (4)    any holder of a claim allowable under section 503(b) and 507(a)(2) of the
              Bankruptcy Code as an administrative expense (other than a holder of a section
              503(b)(9) claim);

       (5)    any person or entity who holds a claim that heretofore has been allowed by Order
              of the Bankruptcy Court entered on or before the applicable Bar Date;

       (6)    any holder of a claim for which a separate deadline has been fixed by the
              Bankruptcy Court;

       (7)    any person or entity (other than a holder of an Abuse Claim) who has already
              filed a Proof of Claim with the Claims and Noticing Agent against the Debtors
              with respect to the claim being asserted, utilizing a claim for that substantially
              conforms to the General Proof of Claim Form or Official Form No. 410; or

       (8)    each Debtor in these chapter 11 cases having a claim against the other Debtor in
              these chapter 11 cases.

       This Notice may be sent to persons and entities that have had some relationship with or
have done business with the Debtors but may not have an unpaid claim against the Debtors. The
fact that you have received this Notice does not mean that you have a claim or that the
Debtors or the Bankruptcy Court believe that you have a claim against the Debtors.




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VI.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        If you hold a claim arising out of the rejection of an executory contract or unexpired lease
you must file a proof of claim based on such rejection within thirty (30) days after the later of
(i) the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection, (ii) the effective date of such rejection, or (iii) the effective date of a
plan of reorganization, or be forever barred from doing so; provided, however, that a party to an
executory contract or unexpired lease that asserts a claim on account of unpaid amounts accrued
and outstanding as of the Petition Date pursuant to such executory contract or unexpired lease
(other than a rejection damages claim) must file a proof of claim for such amounts on or before
the General Bar Date or Governmental Bar Date, as applicable, unless an exception identified in
Section V above applies.

VII.   CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
       APPLICABLE BAR DATE

     ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN SECTION V ABOVE,
AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE
FORM SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM
FOR THE PURPOSES OF VOTING ON ANY PLAN OF REORGANIZATION FILED IN
THESE CASES AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’
CASES ON ACCOUNT OF SUCH CLAIM.

VIII. THE DEBTORS’ SCHEDULES AND ACCESS THERETO

       You may be listed as a holder of a claim against one or more of the Debtors in the
Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
descriptions set forth on the enclosed proof of claim form(s) regarding the nature, amount, and
status of your claim(s). If you received postpetition payments from the Debtors (as
authorized by the Bankruptcy Court) on account of your claim(s), the enclosed proof of claim
form will reflect the net amount of your claim(s).

       If you rely on the Debtors’ Schedules and/or the enclosed proof of claim form(s), it is
your responsibility to determine that the claim accurately is listed on the Schedules. However,
you may rely on the enclosed form, which lists your claim as scheduled, identifies the Debtor
against which it is scheduled, and specifies whether the claim is disputed, contingent, or
unliquidated.

        As set forth above, if you agree with the nature, amount, and status of your claim as listed
in the Debtors’ Schedules, and if you do not dispute that your claim only is against the Debtor
specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
“unliquidated,” you need not file a proof of claim. Otherwise, or if you decide to file a proof of
claim, you must do so before the applicable Bar Dates, in accordance with the procedures set
forth in this Notice.

       In the event that the Debtors amend or supplement their Schedules subsequent to the
entry of the Bar Date Order, the Debtors shall give notice of any amendment or supplement to


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the holders of claims affected thereby, and such holders shall have until the later of (i) the
applicable Bar Date and (ii) thirty (30) days from the date of such notice to file a proof of claim
or be barred from doing so and shall be given notice of such deadline.

        Copies of the Debtors’ Schedules are available for inspection on the Bankruptcy Court’s
electronic docket for the Debtors’ chapter 11 cases, which is posted on (i) the website established
by Omni Agent Solutions, the claims and noticing agent for the Debtors’ cases, at
www.OfficialBSAClaims.com at no charge and (ii) on the Court’s website at
http://www.deb.uscourts.gov/. A login and password to the Bankruptcy Court’s Public
Access to Electronic Records (“PACER”) are required to access this information and can be
obtained through the PACER Service Center at http://www.pacer.gov.

       Copies of the Schedules also may be examined between the hours of 8:00 a.m. and 4:00
p.m., Prevailing Eastern Time, Monday through Friday at the Office of the Clerk of the Court,
824 North Market Street, 3rd Floor, Wilmington, Delaware 19801. Copies of the Debtors’
Schedules also may be obtained by request to the Claims and Noticing Agent.

A HOLDER OF A POTENTIAL CLAIM AGAINST THE DEBTORS SHOULD
CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY
THIS NOTICE, SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF
CLAIM.

       If you need additional information about the Bar Dates, proofs of claim forms, filing
proofs of claim or other information about the Debtors’ chapter 11 cases, you can contact the
Claims and Noticing Agent by:

       Calling (toll-free): 866-907-BSA1
       Emailing:           BSAInquiries@omniagnt.com
       Visiting:           www.OfficialBSAClaims.com

        You may obtain information, but not legal advice, from the Claims and Noticing
Agent. You should consult an attorney if you have any questions, including if you should
file a proof of claim.




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Dated: ____________, 2020                         BY ORDER OF THE COURT
Wilmington, Delaware

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POSSESSION

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